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                                         EXHIBIT A
                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF
                           ILLINOIS EASTERN DIVISION



DEMETRIA POWELL, as guardian ad
litem and on behalf of her son D.P.; and
SHANICE MATHEWS as guardian ad
litem on behalf of her son, D.W. as well as           No.18-cv-6675
on behalf of a class of similarly situated
children,                                             Hon. Judge Joan B. Gottschall

      Plaintiffs,

              v.
                                                      FIRST AMENDED CLASS ACTION
THE STATE OF ILLINOIS; THE                            COMPLAINT
ILLINOIS DEPARTMENT OF STATE
POLICE; J.B. PRITZKER, Governor of the
State of Illinois; and BRENDAN KELLY,
Director of the Illinois Department of State
Police,

      Defendants.
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                                     INTRODUCTION

       1. Every day, African Americans in Chicago endure the brunt of the nation’s gun

violence epidemic. In a “good” year, roughly 2,000 Chicagoans are shot by a gun. Other years,

that number doubles. The violence is not episodic but ongoing and concentrated in particular

Black neighborhoods in Chicago.

       2. The list of victims greatly exceeds those individuals who are hit with bullets, and it

ultimately encompasses vast swaths of the community. Few victims are as vulnerable as the

children living in these neighborhoods disproportionately impacted by gun violence. As of

June 2021 alone, more than 120 children under the age of 18 were shot in Chicago. Many

more were traumatized when their family members, friends, classmates, and neighbors were

gunned down or hit with a stray bullet, sometimes right in front of them.

       3. Defendants – the State and State Police – have the legal authority and duty to take

actions to stop this torrent of violence and to prevent these pervasive, incessant injuries. But

they have failed to exercise that authority. Hence this lawsuit.

       4. Brought by children traumatized by Chicago's endemic gun violence, this lawsuit

seeks declaratory and injunctive relief requiring defendants take reasonable steps to limit the

number of illegal guns flowing into Chicago, thereby limiting these children’s exposure to the

gun violence that has caused them to develop post-traumatic stress disorder and other forms of

trauma-related disability, which will affect the rest of their lives.

       5. Like all illegal guns, the guns trafficked into Chicago stem from the legal firearms

market. The Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF) has reported for

decades that the legal inventories of retail firearms dealers are a dominant source of weapons

for illegal traffickers, who acquire firearms through theft or straw purchases.



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         6. Accordingly, the retail sale of firearms is the first line of defense in preventing the

diversion of legal guns to the illegal market and the business practices of licensed dealers play

a critical role in trafficking prevention.

         7. Licensed gun dealers operating in Illinois were responsible for selling forty (40)

percent of Chicago’s “crime guns” – or guns recovered by law enforcement in connection with

crime. The majority of these guns stem from licensed dealers operating in suburbs nearby

Chicago, with only seven dealers responsible for selling the majority of Chicago’s crime guns

attributed to Illinois dealers.

         8. Yet current law, including the Firearm Owner Identification Card (FOID) Act, 430

ILCS 65/1 et seq., the Firearm Dealer Licensing Certification Act, 430 ILCS 68/1-1 et seq.,

and the Illinois Gun Trafficking Information Act, 5 ILCS 830/10-1 et seq., give the Illinois

Department of State Police (ISP) a mandate to issue regulations that would require these

dealers to implement business practices that ATF and the gun industry’s own trade association

agree will curb the diversion of legal guns to the illegal market through theft, loss, or straw

sales.

         9. By using authority already granted by the legislature, defendants are more than able

to fulfil this mandate to reduce illegal firearms trafficking and the corresponding gun violence

to which the plaintiffs and other class members are exposed.

         10. Doing so would be a reasonable accommodation to the plaintiffs’ and other class

members’ needs under the federally assisted programs administered by defendants.

         11. Though gun violence has plagued Chicago for decades, the rates of violence remain

shocking. Over the weekend of June 5-7, 2021, Chicago received national attention for at least

60 shootings in the impacted neighborhoods where the plaintiff class lives.



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       12. While the Chicago Police Department is straining to block the flood of illegal guns,

the defendants: State, Governor, Department of Illinois State Police, and its Director refuse to

carry out their duty to recover invalid FOID cards and related guns under the FOID Act), 430

ILCS 65/1 et seq. By ignoring the clear command of the FOID Act, the defendants have left

tens of thousands of guns in the hands of persons who are no longer legally permitted to

possess a firearm.

       13. Additionally, the defendants’ failure to accommodate the plaintiff class’ needs in

administrating the state’s gun licensing regime constitutes a violation of Section 504 of the

Rehabilitation Act of 1973, 29 U.S.C § 794, prohibiting discrimination against children whose

daily exposure to gun violence aggravates their mental and emotional disabilities.

       14. In failing to use the ISP’s full regulatory authority under the FOID Act and Dealer

Licensing Certification Act, the defendants are depriving the plaintiff class of the full benefits

of these federally assisted programs. By failing to use their full regulatory authority to carry

out these programs, the State of Illinois and ISP are denying the plaintiff class a reasonable

accommodation to their special needs as children who have symptoms of trauma and other

emotional injuries.

       15. Without a reasonable accommodation to their needs, the plaintiff class’ symptoms

are certain or likely to seriously worsen.

       16. The defendants’ failure to accommodate the plaintiffs’ special needs is also illegal

under Section 5(a)(2) of the Illinois Civil Rights Act of 2003 (ICRA), 740 ILCS 23/5(a)(2). In

violation of that Act, defendants are using “criteria and methods of administration” that

subject Black children to discrimination based on race.




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       17. As shown during the COVID-19 pandemic, the State and Governor take an

extremely broad view of their regulatory authority when the public health of the white

population is also at risk. Here, by contrast, the defendants fail to use broad regulatory

authority in a public health emergency that affects the Black population almost exclusively.

Defendants have failed to use regulatory authority to protect Black children’s emotional and

physical health, instead deferring to a disproportionately white population of gun dealers by

favoring their apparent interests above all else.

       18. In deferring to such interests and failing to use their full regulatory authority to

protect Black children under the Dealer Licensing Certification Act and the Firearm Owner

Identification Card (FOID) Act, the defendants subject Black children to discrimination based

on race, in violation of Section 5(a)(2) of ICRA.

                                         THE PARTIES

                                          The Plaintiffs

        19. Demetria Powell is a twenty-seven-year-old resident of the Austin neighborhood in

 Chicago. She works at the United States Postal Service, and has two children, the plaintiff

 D.P., now eight years old and M.P, now two years old. The father of D.P. and M.P. was shot

 and killed in the West Garfield Park neighborhood of Chicago on January 30, 2016. D.P., then

 in kindergarten, was present at the murder scene and saw his father’s bullet-riddled body. D.P.

 has experienced enduring gun violence, including the murder of a Chicago Public School

 employee at his school later in the spring of 2016, the killing of an older classmate in the

 spring of 2017, and the wounding of other classmates. During the first six months of 2018

 alone, there were three non-fatal shootings and one fatal shooting within a two-block radius of

 his home in the Austin neighborhood. Gun shots can be heard most nights on the block where



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he lives. He has been diagnosed with post-traumatic stress disorder (“PTSD”), to which his

exposure to gun violence has significantly contributed. D.P. is “an individual with a

disability” within the meaning of 29 U.S.C. § 705(20)(B), which includes any individual who

has a disability within the meaning of 42 U.S.C. § 12102. Demetria Powell brings this case on

behalf of her son D.P. as guardian ad litem under Fed. R. Civ. Proc. 17(c).

       20. Shaneice Mathews is a forty-seven-year-old resident of the Garfield Park

neighborhood in Chicago. She has spent more than twenty years as a case manager for Senior

Helpers, an organization primarily involved with in-home care for chronically ill seniors. She

has four children, including the plaintiff D.W., now eleven years old. D.W.’s cousin, was shot

and killed in the North Lawndale neighborhood of Chicago on October 8, 2018. D.W., then in

the fourth grade, was just blocks away from the shooting at the time. Just a month and a half

after the murder of D.W.’s cousin, another one of D.W.’s cousin shot and killed himself with

a handgun. In the three years D.W. has lived in West Garfield Park following the murder of

his cousin, there have been more than ten shootings within a four-block radius of his home.

Hearing guns shots is a weekly, and sometimes daily occurrence in D.W.’s life. D.W. is an

“individual with a disability” within the meaning of 29 U.S.C. § 705 (20)(B), which includes

any individual who has a disability within the meaning of 42 U.S.C. § 2102. Shaneice

Mathews brings this case on behalf of her son D.W. as guardian ad litem under Fed. R. Civ.

Proc. 17(c).

       21. Pursuant to Fed. R. Civ. Proc. 23(b)(2), the plaintiffs bring this action for

declaratory and injunctive relief on behalf of their minor children or grandchild and on behalf

of a class of similarly situated children defined as:




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         All African-American children under the age of eighteen who live or lived in the

         City of Chicago and are: 1) disabled under the terms of the ADA on

         account of their exposure to gun violence; or 2) at risk of becoming disabled by their

         exposure to gun violence.

   22.         The plaintiff class satisfies the requirements of Fed. R. Civ. Proc. 23(a), in

     that:

                (a) The class is so numerous that joinder of all members is impracticable as gun

                    violence in Chicago is at an epidemic level. Since January 1, 2015, 2,231

                    persons have been killed in Chicago. Ninety percent (90%) died by a gun.

                    During the same period, 7,971 persons were shot. About 80 percent of the

                    homicide and shooting victims in Chicago are Black. At least 20 percent of

                    these shootings involve children and teens. Two-thirds of all minors who have

                    been shot suffer from post-traumatic stress disorder, and thousands of Black

                    children in Chicago who have experienced gun violence but not been shot

                    also have PTSD or trauma-related disabilities.

                (b) There are questions of law and fact common to the class. These include

                    whether the plaintiff children in Chicago who have suffered from repeated

                    exposure to gun violence and each of whom is an “individual with a

                    disability” within the meaning of 29 U.S.C. § 70(20)(B), which has the same

                    definition of disability as 42 U.S.C. § 12102 of the Americans with

                    Disabilities Act; whether the State of Illinois, as the party responsible for

                    their education and for licensing the sale or possession of guns, can and

                    should enforce existing Illinois law so as to provide a reasonable



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                   accommodation for the special needs of these disabled children for vigorous

                   civil enforcement of the state laws; whether the State has effectively

                   discriminated against these disabled Black children, and even aggravated

                   their emotional and mental handicaps by failing to use existing regulatory

                   authority to stop illegal gun trafficking in Cook County and Chicago.

               (c) The claims of the named plaintiffs are typical of the claims of the class, as

                   they represent Black children who live or have lived in Chicago and are

                   traumatized and disabled by gun violence, for whom no reasonable

                   accommodation and no meaningful regulatory action has been provided.

               (d) The named plaintiffs will fairly and adequately protect the interests of the

                   class. The named plaintiffs have no interests antagonistic to the class. The

                   named plaintiffs seek declaratory and injunctive relief on behalf of the entire

                   class to remedy injuries to all class members. Counsel for the plaintiffs are

                   competent and experienced in class action and civil rights litigation.

               (e) The plaintiff class satisfies the requirements of Fed. R. Civ. Proc. 23(b)(2)

                   because the defendants have acted on grounds that apply generally to the

                   class, so final injunctive relief and corresponding declaratory relief is

                   appropriate with respect to the class.

                                        The Defendants

       23. The defendant State of Illinois is a “State” operating programs receiving federal

assistance within the meaning of Section 504 of the Rehabilitation Act of 1973, 29 U.S.C. §§

794(b)(1)(A) and (B). It is also a “State” within the meaning of Section 5 of the Illinois Civil

Rights Act of 2003, 740 ILCS § 23/5.



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       24. The defendant Illinois Department of State Police is also a “department, agency

or… other instrumentality of a State” receiving federal assistance and all of whose operations

constitute a “program or activity” within the meaning of the Section 504 of the Rehabilitation

Act of 1973, 29 U.S.C. §§ 794(b)(1)(A) and (B). The ISP is also a unit of the State within the

meaning of Section 5 of the Illinois Civil Rights Act of 2003, 740 ILCS § 23/5.

       25. The defendant J.B. Pritzker is the Governor of the State of Illinois, and

responsible for the policies implemented by the defendant State of Illinois.

       26. The defendant Brendan Kelly is the Director of the Illinois Department of State

Police and, under the direction of defendant Pritzker is responsible for the policies

implemented by the State Police.

                              JURISDICTION AND VENUE

       27. This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§1331 and

1343, and because of its supplemental jurisdiction under 28 U.S.C. § 1366 over the related

state law claim.

       28. Venue is proper in the Northern District of Illinois, as all of the plaintiffs and

defendants are residents of the Northern District of Illinois, and the events and omissions

giving rise to all of the claims alleged occurred in the Northern District of Illinois.

                               FACTUAL ALLEGATIONS

                        The Public Health Emergency in Chicago

       29. The plaintiffs and other Black children in the proposed class have experienced

unremitting gun violence in the neighborhoods where they live or lived. The Chicago

Police Department and University of Chicago Crime Lab studies document that from

January 1, 2015 through June 30, 2018, more than 2,000 people in Chicago were



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murdered. Ninety percent of these murders were by gun. Chicago has more gun-related

homicides than any other major U.S. city. From January 1, 2015 through July 31, 2018,

nearly 8,000 people were shot in Chicago—about one shooting victim every 2.5 hours.

Nearly 20 percent of Chicago’s homicide victims are teenagers or younger. Law

enforcement reported that during the first five months of 2021, 108 children were shot and

16 killed by guns in Chicago.

       30. This gun violence is a public health emergency which afflicts various Black

neighborhoods in Chicago, and particularly: Austin, Englewood, West Englewood, New

City and Grand Crossing (“the communities of concentrated gun violence”). In 2015-2016,

according to the University of Chicago Crime Lab, 80 percent of Chicago homicide

victims were Black, though Black people comprise only about one-third of the city’s

population. Eighty percent (80%) of homicide victims continue to be Black when one

looks only at killings during the first seven months of 2018. Black men aged 15 to 34

made up more than one-half of the city’s homicide victims during this same period, while

accounting for just four percent (4%) of the city’s population. Despite having only nine

percent (9%) of Chicago’s population, the Black neighborhoods of Austin, Englewood,

West Englewood, New City and Grand Crossing, accounted for almost one-third of

homicides in 2016, and this pattern has continued. The national homicide rate is about 5

per 100,000 persons across the whole country. In the Austin neighborhood of Chicago, in

2016, the homicide rate was 87.3 per 100,000 persons, according to the University of

Chicago Crime Lab. In Englewood, the homicide rate was 179.5 per 100,000 persons; in

West Englewood, it was 105 per 100,000 persons; in New City, it was 98.6 per 100,000

persons and in Grand Crossing it was 103.5 per 100,000. These five neighborhoods have



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the most death by gun violence of any neighborhoods in Chicago. They are Black

neighborhoods. Five of the next six deadliest neighborhoods are also predominantly Black.

       31. By comparison, the white Chicago neighborhoods of Lincoln Park, North

Center, Edison Park, Forest Glen, North Park, Hegewisch, Beverly and Mount

Greenwood had no homicides in 2015 or 2016, and the white neighborhoods of Lake

View, Lincoln Square, Jefferson Park, Calumet Heights, Edgewater, Montclare, O’Hare,

Dunning, and Norwood Park had two or fewer murders during this two-year period, with a

zero or negligible homicide rate. This disparate impact of gun violence has continued

through to the present day.

       32. Fatalities are only one aspect of a broader public health emergency that the

plaintiffs and other members of the class are experiencing. The plaintiff children and other

class members are suffering from traumatic exposure to this violence in a way that has

created serious disabilities and limits on their life activities. The plaintiff children hear

gunfire most nights, while in their homes and walking the streets, and these numerous

firings can recreate or lead the children to experience prior traumatic exposures to gun

violence, from loss of a family member, parent, sister, brother, cousin, or schoolmate.

       33. Chicago police are currently recovering over 10,000 crime guns a year. Yet all

these crime guns were usually purchased in the first instance from a federally licensed gun

dealer that Illinois law requires the state to certify to legally operate within the state. Some

of these dealers violate the law or fail to implement reasonable business practices that

prevent gun traffickers from acquiring firearms through unlawful transfers, including theft

or straw sales.




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       34. An increasing number of these guns are 9-millimeter or .40 caliber handguns

that have larger capacity magazines for ammunition and are more powerful than the .22

caliber handguns that were the principal handguns in the past.

                A Substantial Number of the “Crime Guns” Used in Chicago
                         Come from Chicago Area Gun Dealers

       35. Chicago has no licensed gun dealers, but according to the Chicago Police

Department, 40.4 percent of the “crime guns” recovered on Chicago streets every year,

from 2009 through 2016, were purchased from federally-licensed gun dealers operating in

Illinois. This figure has not changed materially in the 2019 Gun Trace Report issued by the

City. Seven of the stores selling the most crime guns recovered in Chicago shootings are

located in Illinois (with the remainder located nearby in Indiana). These Illinois gun dealers

are:

                              Chuck’s Gun Shop in Riverdale, IL

                              Midwest Sporting Goods in Lyons, IL

                              Shore Galleries in Lincolnwood, IL

                              GAT Guns in East Dundee, IL

                              Suburban Sporting Goods in Melrose Park, IL

                              Pelcher’s Shooter Supply in Lansing, IL

                              Sporting Arms & Supply in Posen, IL

       36. Large numbers of guns purchased from these dealers were recovered in

connection with crimes within one year of their purchase. ATF and other law enforcement

entities recognize a short “time-to-crime” as an indicator of illegal trafficking.

       37. Suburban Sporting Goods in Melrose Park, IL sold 85 guns recovered as “crime

guns” in Chicago in 2016 alone, and 46 percent of these guns were sold less than a year


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before their recovery. Sixty-eight percent (68%) of the “crime guns” sold were recovered

within three years of retail sale. Chuck’s Gun Shop in Riverdale, IL sold 997 “crime guns”

during the period 2013-2016, 21 percent (21%) of which were recovered within one year of

retail sale. Ninety-two percent (92%) of the “crime guns” sold by these stores are handguns.

        38. During the 2013-2016 period, federally-licensed gun dealers in Illinois reported

that 1,200 guns were lost or stolen from these dealers prior to any sale. This includes

burglaries, robberies, and off-the-books sales. Thefts and burglaries in particular are

increasing at an alarming rate. Burglaries at these stores tripled between 2015 and 2016.

ATF has found that these stolen guns are almost assuredly destined for criminal use in the

immediate area of the theft. Chuck’s Gun Shop alone reported 43 guns stolen between 2013

and 2016.


       The State of Illinois Has Failed To Implement Meaningful Gun Trafficking
          Prevention Regulation in Illinois, Despite Ample Authority to Do So

        39. Firearms regulation in the United States is a patchwork of federal, state, and local

law.

        40. Illinois gun dealers, including those identified by name above, must receive a

federal license to engage in the business of dealing in firearms, which is issued by ATF.

Additionally, Illinois law requires all licensed dealers have their licenses certified by the State

to legally operate within Illinois.

        41. The ATF is, by design, underfunded and legally restricted from providing

meaningful oversight of licensed gun dealers; so many states, including Illinois, have directed

state law enforcement resources to supplement federal oversight.

        42. The Gun Control Act of 1968, 18 U.S.C. § 922 et seq., provides a barebones

framework to oversee licensees. Once granted a license, gun dealers are expressly required by

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the statute to conduct background checks in accordance with the Brady Act, 18 U.S.C.§

922(t), require any unlicensed transferee to complete ATF’s Firearms Transaction Record

(“Form 4473”), 27 CFR § 478.124, and maintain paper records of transactions and other

dispositions, 18 U.S.C. § 922(g)(1). Additionally, licensed dealers are required by the text of

the statute to comply with minimal reporting requirements that include notifying ATF of any

theft or loss of inventory, 18 U.S.C. § 923(g)(6), or when the licensee sells multiple handguns

to the same individual within a five-day period Id. at § 923(g)(3).

         43. Federal law does not expressly require licensed dealers to adopt specific business

practices to deter illegal transfers, modernize their inventory management to make loss

readily apparent, or mandate basic security measures to prevent theft.

         44. Federal law further restricts ATF by limiting the agency to one annual compliance

inspection, 18 U.S.C. § 923(g)(1)(B)(iii), and does not require dealers to submit their

inventory records to ATF for inspection.

         45. Even if the law were less restrictive, ATF is underfunded and has been unable to

adequately inspect dealers for years. A 2013 report issued by the Department of Justice

Office of Inspector General (OIG) found that ATF only inspects about 11,000 of the 135,000

licensees each year despite an internal target to inspect each licensee once every three to five

years.

         46. The 2013 OIG report also suggests that ATF has not implemented mechanisms to

track and prioritize for inspection retail dealers it considers to be “high-risk.”

         47. Additional data made public by the federal government indicates ATF only

inspected fifteen percent (15%) of retail dealers each year between 2010 and 2019, visiting

retail dealers roughly once every seven years. In (FY) 2019, ATF inspected 13,079 licensed



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retail dealers, which roughly translates to ten percent (10%) of all licensees. Although 2020

posed novel challenges, ATF inspected a mere 5,827 during this past fiscal year despite

record-high gun sales.

       48. Even in rare cases where ATF musters the resources to inspect a licensed retail

dealer, licenses are rarely revoked, even when flagrant violations of federal law are

uncovered, leaving irresponsible retail dealers to operate at the expense of the public’s safety.

       49. An analysis of ATF inspection records obtained by Brady and independently

analyzed by USA Today and the Trace found that recommendations from ATF inspectors to

take serious remedial action, including recommendations to revoke federal licenses to engage

in the business of selling firearms, are routinely overturned or downgraded to warnings.

       50. By state law, regulating gun trafficking in Illinois is a state matter, over which the

State of Illinois has claimed exclusive authority, 430 ILCS 65/13.1.

       51. Local villages and towns therefore have done little, by way of ordinance, to limit

the sales of gun dealers or prevent the theft or loss of guns. Nor is there any meaningful

enforcement of these ordinances. Indeed, only 53 of Illinois’ 1,299 municipalities have

adopted any kind of gun dealer/trafficking ordinance, and most require nothing more than the

documentation of sale, as required by state law. Those municipalities with stricter ordinances

like Chicago and Oak Park have no gun dealerships or gun shows.

       52. The only effective way to limit the flow of “crime guns” from Illinois gun dealers

into Chicago is for the defendants, State, and the ISP to exercise the full regulatory authority

the state legislature has provided in light of the gaps in federal and local regulation, and both

adopt and enforce meaningful state-wide rules to reduce illegal gun trafficking.




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        53. One key way to reduce illegal trafficking is to deter and detect illegal transfers,

including “straw sales” – or a sale where the person that submits to a background check

falsely presents him or herself as the actual buyer of the gun when they, in fact, intend to

transfer the gun to another person.

       54. The defendants have multiple sources of authority to reduce such illegal gun

trafficking by preventing illegal straw sales.

       55. First, it is illegal in Illinois under federal and state law for either the gun dealer or

the transferee to engage in a straw sale if either party knew or should have known the transfer

was a straw sale. See 18 U.S.C. § 922(a)(6); 27 CFR 4§ 78.128; 430 ILCS 68/5-85(a).

       56. Second, part of the organic statute creating the defendant ISP, vests ISP with the

authority to “promulgate rules and regulations necessary for the administration and

enforcement of its powers and duties, wherever granted and imposed, pursuant to the Illinois

Administrative Procedure Act.” 20 ILCS 2605-15 (emphasis supplied). In the case of the

FOID Act described above, ISP specifically has broad authority to “exercise the rights,

powers and duties that have been vested in the [ISP] by the Firearm Owners Identification

Card Act.” 20 ILCS 2605-120.

       57. Additionally, under both the Dealer Licensing Certification Act and the FOID

Act, and under further authority of 20 ILCS 2605-15, the ISP has both the power and duty to

stop straw sales and other unlawful transfers.

       58. The FOID Act makes it unlawful for anyone to possess a firearm in Illinois unless

they have been screened and found eligible for a FOID card. In section 430 ILCS 65/3 the

FOID Act prohibits the sale of any firearm or firearm ammunition to any person in the state

who does not hold a valid FOID card or a valid concealed carry permit. This prohibition



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applies to federally-licensed firearm dealers, 430 ILCS 65/3(a)(I), and to any sale by

someone who is not a federally-licensed firearm dealer, i.e., a sale in what is customarily

referred to as the secondary gun market, either at a gun show, 430 ILCS 65/3(a-5), or through

a private sale, 430 ILCS 65/3(a-10). The State Police provide a call-in process so that gun

sellers may check to determine if the purchaser has a valid FOID card, and this entails a

background check as well, 430 ILCS 65/3.1.

       59. Without attempting to manage in detail what ISP should do, the General

Assembly enacted the FOID Act on the premise that the ISP would use its special knowledge

about the criminal gun market and its existing authority under 20 ILCS 2065-15 and 2065-

120 as necessary to prevent unlawful transfers.

       60. Subsequently, in 2018 after the filing of this action, the General Assembly

adopted the Firearm Dealer Licensing Certification Act, 430 ILCS 68/5-60, for the purpose

of stopping illegal gun trafficking by requiring dealers to adopt practices that would reduce

diversion of legal firearms to the illegal market through theft, loss, or straw sales. In addition

to robust security and inventory management requirements, section 430 ILCS 68/5-60 the

Dealer Licensing Act states: “[t]he Department [of State Police] shall develop and implement

by rule statewide training standards that would lead a reasonable dealer to refuse sale of a

firearm, including but not limited to indicators of a straw purchase.” (emphasis supplied).

Under 430 ILCS 68/5-34 of the same Act, the ISP also has broad regulatory authority to

require training in responsible business practices to be determined by ISP.

       61. Necessarily, the ISP has authority to require dealers to follow those responsible

business practices and to fine or suspend or deny certification of their licenses if the dealers

fail to do so. Under 430 ILCS 68/5-85 of the Dealer Licensing Certification Act, the ISP has



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the power to “refuse to renew… any licensee, for… (2) a pattern of practice… which

demonstrates… incapacity or incompetency to practice under the Act.” Such a pattern or

practice of incapacity or incompetency is acknowledged by ISP to include incapacity to stop

straw purchases, yet the ISP inexplicably claims that it cannot require the dealers to follow

such responsible business practices and to document they are used at the time of sale.

       62. Since ISP is authorized by law to discipline dealers under 430 ILCS 68/5-85 for a

pattern of straw sales, ISP necessarily has the regulatory authority to require dealers to follow

the practices that would be likely to prevent such straw sales. Such authority as is necessary

to enforce 430 ILCS 68/5-85 is also within the general grant of authority to ISP in 20 ILCS

2065-15.

       63. The ATF and the National Shooting Sports Foundation (NSSF), the gun

industry’s trade association, have developed resources that instruct gun dealers to engage

potential purchasers in conversation to ferret out indicators that the customer is a straw

purchaser through the “Don’t Lie for the Other Guy” campaign. Using those materials and

building on them based on experience in litigation against negligent gun dealers, Brady has

developed a checklist based on common indicators of straw purchasing set out in Exhibit B.

       64. Requiring dealers to follow the practices or protocols set out in Exhibit B as a

condition for certification of a dealer license under 430 ILCS 68/5-85 would substantially

reduce straw purchases and dramatically reduce the gun violence to which the plaintiffs and

other class members are now exposed.

       65. For example, as part of the responsible business practices to be followed, the

defendant ISP can require dealers to be trained and required to refuse sales when specific

indicators of a straw sale are present. Such indicators include but are not limited to: (1)



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buying multiples of the same handgun in the same transaction or within a short period of

time, or (2) seeking purchase of a handgun when a gun previously bought by the same

purchaser was recovered at a crime scene and not reported lost or stolen. Dealers should be

trained not to sell under these circumstances and held accountable or disciplined by ISP if

they do.

       66. Likewise, as a responsible business practice, dealers should be trained to require

valid FOID cards from person purchasing ammunition, as failure to do so is effectively

facilitating violence by persons without valid FOID cards.

       67. Defendant ISP has also failed to perform its responsibility under the Illinois Gun

Trafficking Information Act, 5 ILCS 830/10-5 to produce reports to determine patterns of

straw purchasing by specific dealers, and to develop a state-wide firearms trace system to do

so.

       68. Defendant ISP has failed particular to create a single or central gun trace database

that is truly comprehensive and able to determine straw purchasing patterns. Under the Gun

Trafficking Information Act, ISP can and should dedicate resources to analyze trace data.

Where the local police departments are small and lack the capacity to do so, ISP can provide

appropriate financial assistance to ensure such officers are in place.

       69. ISP has also failed to provide transparency or disclose its own actions in enforcing

state gun laws, including the FOID Act and the Firearm Dealer Licensing Certification Act in

violation of the Gun Trafficking Information Act, 5 ILCS 830/10-5.

       70. ISP can and should disclose properly redacted summaries of its inspections of

dealers and other enforcement activities, and “use all reasonable efforts to make publicly

available, on a regular and going basis, key information related to firearms used in the



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commission of crimes in this State,” including the identity of the “Federal Firearms Licensee

that sold the firearm….”

       71. The ISP is also supposed to “study on a regular and ongoing basis and compile

reports on straw purchase patterns,” but has produced no such reports even at this late date.

       72. With respect to enforcement of the FOID Act, the ISP has failed to use its full and

necessary regulatory authority to stop illegal users from obtaining cards under false identities.

Specifically, the ISP has failed require the fingerprinting of all applicants, which is the only

sure way to determine identity, and the only way to stop the current criminal activity.

Instead, the ISP has insisted on further legislative authorization for a practice that nothing in

the FOID Act prohibits and is preventing enforcement of the FOID Act.

       73. Generally, the ISP has failed to perform its core obligation under the FOID Act –

to collect guns from persons whose FOID cards are invalid. While Chicago police strain to

collect thousands of illegal firearms, ISP has failed to make a meaningful effort to collect at

least 36,000 or more illegal guns now held by persons whose FOID cards have been revoked

over the years.

       74. Not even ISP doubts it has full regulatory authority under the FOID Act to carry

out the revocations and return of guns. Yet the ISP has consistently failed to require owners

to complete a Firearm Owner Disposition Record and surrender their guns when FOID cards

are revoked. In 2018, 10,818 gun owners’ FOID cards were revoked, but only 2,616 Firearm

Disposition Records were received, and only 3,469 FOID cards were returned.

       75. To begin a meaningful enforcement of FOID in Cook County alone, the Sheriff of

Cook County has estimated that it would require $3 million a year for 28 additional

committed law enforcement positions.



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         76. The ISP has ample authority to reallocate resources to meet the plaintiff class’ life

and death emergency needs, as well as its obligations under the FOID Act, but has refused to

do so.

         77. In all these instances identified above, ISP has failed to use obvious express or

implied regulatory power to stop even criminal activities by dealers with respect to straw

sales or to collect guns already in the possession of felons and other illegal FOID card

holders.

         78. By refusing to use ISP’s full authority, defendants continue to permit problem

dealers to engage in straw sales without any sanction and without requiring responsible

standard business practices by which these dealers can be judged.

         79. This narrow and limited view of regulatory authority when necessary to protect

the health and safety of Black children conflicts with the State defendants’ expansive view of

regulatory authority towards the COVID-19 public health emergency when white citizens’

health and well-being are at stake. The view of authority in a public health emergency for

Black children is treated in an entirely different and discriminatory manner than a public

health emergency for white citizens of the State.

         80. Many studies have concluded that meaningful regulation of the primary and

secondary gun markets, as set forth in the above paragraphs, will reduce the number of guns

available in cities like Chicago, and thereby reduce the number of Black children killed or

shot, and most importantly reduce the debilitating level of gun violence that has led to the

disability of the plaintiff children and similarly situated children. These include: Webster,

Vernick, Bulzacchelli & Vittes, “Recent Federal Gun Laws, Gun Dealer Accountability and

the Diversion of Guns to Criminals in Milwaukee”, Journal of Urban Health Vol. 89:87-97



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(2012); Irvin, Rhodes, Cheney & Wiebe, “Evaluating the Effect of State Regulation of

Federally Licensed Firearm Dealers on Firearm Homicide”, Am. Journal of Pub. Health, Vol.

104(8): 1384-1386 (2014); and the City of Chicago’s Gun Trace Report, 2017 (2017),

https://www.cityofchicago.org/content/dam/city/depts/mayor/Press%20Room/Press%20Relea

ses.

The Pervasive Gun Violence in Chicago's African-American Neighborhoods Has Caused
    Thousands of African-American Children to Become Disabled Under the ADA

       81. The unending gun violence in Chicago has left thousands of city’s Black residents,

including children in the plaintiff class, dead or with physical and emotional wounds. As Dr.

Shani Buggs from the University of California at Davis Gun Violence Research Center notes,

gun trafficking and pervasive gun violence’s repercussions stretch well beyond those directly

hit with a bullet, reverberating within entire communities for decades through depressed home

prices, reduction in growth of new retail and services, lack of economic or career

opportunities in the immediate vicinity, and lack of access to healthcare, healthy food or social

opportunities.

       82. Pervasive gun violence and the constant trauma and fear that it produces has had an

acute and dramatic effect on the social and emotional health and educational opportunities of

the children exposed to such violence that have not been shot, like the plaintiffs and other class

members in this case. A Chicago mother interviewed by a local author, Alex Koltowitz, in his

book “An American Summer” captured it best: “It’s like Russian roulette every time they

walk out the door.”

       83. The number of children that are traumatized by living under that daily fear when

deciding whether to play with friends, get fresh air, or go to school are far larger in number

than those who have been killed and maimed.


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       84. Section 504 of the Rehabilitation Act of 1973, 29 U.S.C. § 794 protects an

“individual with a disability” under 29 U.S.C. § 705(20)(B) which adopts the definition of a

“disability” under 42 U.S.C. § 12102 of the Americans with Disabilities Act as “a physical or

mental impairment that substantially limits one or more major life activities of such individual”,

42 U.S.C. §12102(1)(A). Major life activities under this section “include, but are not limited to,

caring for oneself, performing manual tasks, seeing, hearing, eating, sleeping, walking,

standing, lifting, bending, speaking, breathing, learning, reading, concentrating, thinking,

communicating, and working” (emphasis supplied).

       85. It is well-established among physicians, trauma specialists and educators, as well as

in the scientific, peer-reviewed literature, that when a child, particularly a young child, is

exposed to gun violence, there is a dramatic and lasting impairment of the child’s basic life

activities. This includes deficits in the child’s ability to care for himself or herself, the child’s

sleep, reading abilities, learning capacity, concentration, thinking and communication. As a

result of these deficits, gun violence directly undermines the child’s academic performance and

his or her educational opportunities.

       86. Many studies have found that children directly or indirectly exposed to

community violence, most often gun violence, develop acute or post-traumatic stress

disorder, including disrupted sleep, anxiety and fear, as well as reduced awareness and

difficulty with concentration, thinking and memory, all of which impair cognitive

functioning. Exposure to gun violence floods a child’s body with stress hormones

(adrenaline and cortisol) which independently undermine cognitive performance by

compromising the function of the prefrontal cortex of the brain (the area of the brain that is

most rapidly developing in adolescence). This portion of the brain is responsible for



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reflective self-regulation and sustained attention, thus inhibiting the child’s memory, ability

to sustain concentration and brain development. The child’s analytical capacities (or

executive function) tend to disintegrate, leaving the child disorganized cognitively and

emotionally, and thus prone to react in school with extreme helplessness, confusion,

withdrawal, or rage. The more directly the child experiences gun violence and the more

often it happens, the more enduring and permanent are his or her deficits. This literature is

summarized in many places, including by the Violence Policy Center, “The Relationship

Between Community Violence and Trauma: How Violence Affects Learning, Health and

Behavior”, (July, 20017), www.vpc.org; by Sharkey, “The Long Reach of Violence: A

Broader Perspective on Data, Theory, and Evidence on the Prevalence and Consequences of

Exposure to Violence”, Annual Review of Criminology, Vol. l:85-102 (January, 2018); and

by Cook, et al. “Complex Trauma in Children and Adolescents”, Psychiatric Annals, Vol.

35(5): 390-398 (2005).

       87. For twenty years, research has shown that exposure to gun violence negatively

affects a range of developmental outcomes across social-emotional, behavioral, and cognitive

domains. See, e.g. Bingenheimer, et al., “Firearm Violence Exposure and Serious Violent

Behavior”, Science, Vol. 308:1323-26 (2005); and Osofsky, “The Impact of Violence on

Children”, Future of Children, Vol. 9:33-49 (1999). It has also consistently shown that

exposure to gun violence and other forms of violence are associated with lower performance

on assessments of reading, cognitive skills, grade point average, and school attendance. See,

e.g. Bowen, et al., “Effects of Crime and Violence in Neighborhoods and Schools on the

Social Behavior and Performance of Adolescents”, Journal of Adolescent Research, Vol.

14:319-42 (1999) and Delaney-Black, et al., “Violence Exposure, Trauma and IQ and/or



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Reading Deficits among Urban Children”, Archives of Pediatrics and Adolescent Medicine,

Vol. 156: 280-85 (2002).

       88. In Chicago, there have been many studies linking exposure to gun violence directly

to deficits in academic performance by Black children. In 2010, Dr. Patrick Sharkey used

Chicago homicide data and cognitive assessment data on hundreds of children aged 5 to 17

from the Project on Human Development in Chicago Neighborhoods to assess the effect of

a single homicide incident located near a student’s home on that student’s vocabulary and

reading skills, using sub-tests of the Wechsler Intelligence Scale for Children and the Wide

Range Achievement Test. For Black children, a homicide located on their block within one

week of cognitive assessment testing showed (on average) a reduction in performance of 0.5

standard deviations relative to other Black children living in the same neighborhood who had

not been exposed to a homicide. The children lost .65 standard deviations in their reading

scores when tested within four days of a homicide occurring on their block (whether the child

saw the homicide or not). A separate study of Chicago data referenced by Dr. Sharkey, and

used for comparison, found that a homicide within a child’s census tract occurring within four

days of cognitive assessment found loss of a full 1.0 in standard deviation on a letter-word

test, as compared with other children from the same neighborhood. Sharkey, “The Acute

Effect of Local Homicides on Children’s Cognitive Performance”, Proceedings of the

National Academy of Sciences, Vol. 107(26): l 1733-38 (2010). Dr. Sharkey has

demonstrated the same causal effect between exposure to gun violence and deficits in

standardized test scores administered in the schools of New York City (using time and

location), see Sharkey, et a1., “High Stakes in the Classroom, High Stakes on the Street:

The Effects of Community Violence on Students’ Standardized Test Performance”,



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Sociological Science, Vol. l(3): 199-220 (2014); see also, Lacoe, et al., “Too Scared to

Learn? The Academic Consequences of Feeling Unsafe in the Classroom”, Urban

Education, https://doi.org/10.I 177/0042085916674059 (October, 2016), (tracking 340,000

New York city public school students over successive academic years to find that in years

when students reported feeling unsafe, their standardized test scores declined significantly).

       89. Dr. Dana Charles McCoy and colleagues studied 602 Chicago children from

high- crime Chicago neighborhoods in 2004 and 2005, and then followed up with them in

2010 and 2011 to study the relationship between their exposure to violent crime (taking

place within a half mile of their home (which they may or may not have witnessed) and

within seven days of testing) and their performance on a neuropsychological assessment

which measured their cognitive performance and selective attention. These researchers

found a direct relationship between exposure to violence and a deficit in neuropsychological

functioning, as a result of the children’s exposure to gun violence. McCoy, et al.,

“Children’s Cognitive Performance and Selective Attention Following Recent Community

Violence”, Journal of Health and Social Behavior, Vol. 56(l): 19-36 (2015).

       90. Gun violence affects everyone in school, even those not exposed. This was

demonstrated by Dr. Julia Burdick-Will, who took five cohorts of Chicago Public School

students (from 2002 to 2010) and examined the relationship between performance on

standardized tests and the level of violence experienced in the school (as determined by

Chicago police locational crime data and survey tools). Many students did not experience gun

violence, but the whole school felt less safe. One standard deviation increase in classmates’

exposure to neighborhood violence was related to a 0.3 standard deviation decline in both

reading and math scores – which represents ten percent (10%) of normal student annual



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growth. Burdick-Will, “Neighborhood Violence, Peer Effects, and Academic Achievement in

Chicago”, Sociology of Education, Vol. 91(3): 205-223 (2018).

The Plaintiffs’ Exposure to Gun Violence Has Left Them Disabled Within the Meaning
                       of Section 504 of the Rehabilitation Act

                                The Case of Plaintiff D.P.

       91. D.P. is eight years old and attends a Chicago Public School in the Austin

neighborhood of Chicago, where he lives with his mother, grandmother, and a very young

sibling. His mother works at the U.S. Postal Service and his grandmother works at the Chicago

Transit Authority.

       92. On the night of January 29, 2016, D.P. and his mother were together with his

father, DeMorrow Stephens (age 26). Mr. Stephens lived in the Austin neighborhood near his

son and had been a good father to D.P., who was then just in kindergarten. Mr. Stephens

seemed fatalistic that night, telling D.P. and his mom that: “if I die tonight, I still love my

family”. In the early morning hours of January 30, 2016, D.P and his mother were

awakened with news that Mr. Stephens had been shot in the West Garfield Park

neighborhood. D.P.’s mother woke him and they rushed to the scene, where they saw Mr.

Stephens’ body slumped in the driver’s seat of a 2007 Audi, having been shot in the chest,

torso, left thigh and pelvis. The sight of his father was deeply disturbing to D.P. and he was

rushed away. Though deemed a homicide by the coroner and the police, no one has been

charged with his murder.

       93. The killing was devastating to D.P. and his mother. She was off work for three

months and kept D.P. out of school. D.P.’s grandmother cared for both of them, as best she

could. There was no emotional counseling available to the family, and D.P.’s mother and

grandmother did not know what to say or how to explain what had happened to D.P.


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       94. D.P. went back to his kindergarten class after a week. His kindergarten teacher,

Raven McGill, had regarded D.P. as a well-behaved and bright young boy, but after his

father was killed, he began yelling in class and having angry outbursts. The teacher and

family tried to respond effectively but could not. For months after the shooting, D.P.

repeatedly woke up in tears because of terrible dreams about his father. He had a great deal

of difficulty sleeping. He was afraid. At school, his behavior deteriorated, and he was

physically aggressive with other students and, at one point, punched and kicked his teacher,

requiring him to be sent home. D.P. would speak about his father at school, once pointing to

the clouds and telling his teacher “that’s where my dad is”, and on another occasion telling

the teacher he would be excited “when his dad comes back”. Beginning with his father’s

shooting, D.P. has struggled in school, experiencing difficulties in learning, reading,

thinking and communicating.

       95. Near the end of D.P.’s first year of school, on June 16, 2016, a Chicago Public

School employee (food compliance officer), Denzel Thornton, was shot in the head and

killed at 12:30 pm immediately outside D.P.’s school. The students, including D.P., were in

the school at the time, and observed all that went on.

       96. The next year, as D.P. navigated first grade, a well-liked eighth grader at his

school was shot and killed on March 24, 2017. He was shot on a Saturday by someone in a

passing car just after 3 pm, while on the sidewalk of a playground in the 4900 block of West

Hubbard, in the Austin neighborhood, about eight blocks from D.P.’s home. The eighth

grader had been shot the year before as well but survived. Everyone at the school, including

D.P. and his family, were devastated.




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       97. Gun violence continued unabated in D.P.’s life, as he entered the second grade.

At least one other student at the school was shot during the 2017-18 school year. A shoot-

out directly in front of the school required D.P. and his second-grade classmates (whose

windows looked out on the front of the school) to seek cover in his classroom. During the

first six months of 2018 alone, there were three non-fatal shootings and one fatal shooting

within a two-block radius of D.P.’s home in the Austin neighborhood. Gun shots can be

heard most nights on the block where he lives. D.P. continues to have difficulties sleeping,

concentrating, communicating, reading and in his schoolwork. He continues to struggle

with communication and interpersonal relationships, both at school and at home.

       98. D.P. is disabled within the meaning of Section 504 of the Rehabilitation Act,

which adopts the definition of disability set out in 42 U.S.C. §12102 of the Americans with

Disabilities Act. D.P. suffers from a trauma- induced mental impairment that substantially

limits his abilities to sleep, speak, learn, read, concentrate, think, communicate and

participate fully in school.

       99. D.P. continues to reside in the Austin neighborhood of Chicago where gun

violence continues unabated. He remains in his school where killings and gun violence are

persistent. His past and continued exposure to gun violence has impaired his basic life

activities and threatens to make his condition more severe. He is unable to achieve the full

benefits of the education available to him at his Chicago public school.

                                  The Case of Plaintiff D.W.

       100. D.W. is eleven years old. He lives with his mother, his sister Ashley, and Ashley’s

two children. D.W.’s mother works for Senior Helpers as a case manager in charge of

coordinating in-home care for chronically ill seniors.



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       101. D.W. attends a Chicago Public School in the Austin neighborhood of Chicago. The

same school that D.P. attends, another plaintiff in this case. His sister, Tierra Scott, works as a

teacher at the school. D.W. chose to attend the school his sister works at rather than his local

public school because it makes him feel safer.

       102. On the night of October 8, 2018, D.W. and his mother were spending quality time

with their family in the neighborhood where D.W. was raised, North Lawndale. That same

night, Marquise Willingham, D.W.’s cousin was returning home from a high school football

game at Collins Academy High School. Just blocks away from where D.W. and his family

were having a quiet night with their relatives, a car pulled up next to Marquise on his walk

home from the game. A gunman got out of the car and shot Marquise twice in the shoulder and

once in the head. Ms. Mathews heard a banging on the door and answered. It was a family

friend in tears screaming that Marquise had been murdered.

       103. D.W., just nine years old at the time, heard the news from the other room of the

house. D.W. was shielded from seeing his cousins bleeding body by his mother. He would

later accompany his family to the coroner’s office to identify the body. D.W., overcome with

grief, decided to stay in the car. The police have labeled Marquise’s death a homicide. The

case remains unsolved.

       104. The loss of D.W.’s cousin at the hands of gun violence forever altered D.W.’s life.

With little money and no counseling resources available to the family, D.W. was left with very

little to deal with so much trauma.

       105. At the time of the murder, D.W.’s sister was his fourth-grade teacher. Ms. Scott

drove D.W. every day to and from school. She continues to transport D.W. to this day. It

simply was not and is still not safe for D.W. to walk, take the bus, or take the train to get to



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and from school. Prior to the death of their cousin, Ms. Scott knew D.W. to be an inquisitive,

mild-mannered, and thoughtful child. He sang and still does sing in their church choir and

leads the family prayer every Thanksgiving. D.W. was then and still is now obsessed with

space, soccer, and Greek mythology.

        106. After the killing of his cousin, D.W. began having severe emotional swings

manifesting in massive angry outbursts seemingly triggered by small discomforts. These

outbursts disrupted class, caused D.W. to shake uncontrollably, and lasted long periods of

time.

        107. D.W.’s learning has also suffered. For the first time in his school career he started

manifesting symptoms of attention deficit hyperactivity disorder, often requiring fidget

spinners and other gadgets to keep him in his seat. Much more than was the case prior to the

murder, D.W. now experiences difficulties in focusing, reading, communicating, and listening.

D.W. is currently being evaluated for an Individual Education Plan (“IEP”) at his school in

order to secure extra resources to help him keep pace with his peers and manage his stress.

        108. D.W.’s exposure to gun violence has caused D.W. to seem more stressed. He is

acutely aware of the dangers guns pose to him and his family. D.W. has ongoing fear for his

own life and the lives of his family members. Accordingly, D.W. refuses to play outside unless

his mother is supervising. He has made it a consistent habit of calling each of his siblings and

his mother in the afternoon and at night just to make sure they are safe.

        109. On November 23, 2018, just a month and a half after his cousin’s murder, another

one of D.W’s cousins committed suicide by shooting himself in the head. D.W. was with his

family mourning the recent death of another cousin from cancer. As the family huddled

together in D.W.’s living room after returning from the hospital, D.W.’s aunt received the



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heart wrenching phone call concerning her son’s suicide. D.W., like the rest of his family,

broke down in tears as the news was shared throughout the house. Neither D.W. or Ms.

Mathews knows why Keyonte killed himself.

       110. Not only has gun violence touched D.W.’s family directly, it remains a consistent

part of his life. On more than a handful of occasions, D.W. and his classmates have been held

back during dismissal because gun shots were heard on an adjacent block. In the three years

since D.W. has lived in Garfield Park, at least ten shootings have occurred within a four block

radius of D.W.’s home. D.W and his mother regularly hear gun shots at night while going to

sleep. Since the murder of his cousin, D.W. has had trouble sleeping, often reporting dreams

about his cousin to his mother.

       111. D.W. is an individual with a disability under 29 U.S.C. 705 (20)(B) of Section 504

of the Rehabilitation Act, because D.W. has a disability within the meaning of 42 USC 12102

of the Americans with Disabilities Act. He suffers from a trauma-induced mental impairment

that substantially limits his abilities to sleep, learn, read, concentrate, think, communicate and

participate fully in school.

       112. D.W. continues to live in the Garfield Park neighborhood of Chicago where gun

violence is just a normal part of life. D.W. is now in sixth grade. He has fallen behind in

school according to his end-of-year standardized test scores. But his effort is not the cause of

his struggles in school. D.W. has perfect attendance and shows up to school an hour early with

his sister and often stays after school when his sister needs to work late.

       113. D.W.’s past and continued exposure to gun violence has impaired his basic life

activities and threatens to make his condition more severe. He is unable to achieve the full

benefits of the education available to him at his Chicago public school.



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                                               CLAIMS

COUNT I -VIOLATION OF SECTION 504 OF THE REHABILITATION ACT (CIVIL
                          GUN REGULATION)

          114. By failing to use the ISP’s full regulatory power to restrict illegal gun racketeering

under the Dealer Licensing Act and the FOID Act, and in violation of Section 504 of the

Rehabilitation Act of 1973, 29 U.S.C. § 794, the defendants have unlawfully refused a

reasonable accommodation to plaintiffs and other handicapped children of the class, by reason

of their handicap. Defendants have failed to take actions described above and within their

authority to reduce the exposure of the plaintiff class to the gun violence which creates and

aggravates the PTSD symptoms and resulting handicaps from which the plaintiff children

suffer.

          115. Likewise, by such failure to use that full authority, and in further violation of

Section 504 of the Rehabilitation Act, the defendants are discriminating against the plaintiff

children as a class and inflicting a special injury upon them by virtue of their disability.

Defendants have allowed a dangerous condition to persist.

          116. As a result of such discrimination by defendants, and unless restrained by this

Court the plaintiff children and other class members will be exposed to further events that

traumatize them and increase the limitations on life activities WHEREFORE, plaintiffs pray

that this Court:

          A. Certify the proposed class under Rule 23(b)(2), F.R. Civ. P.

          B. Declare pursuant to 28 U.S.C.§ 2201 that by the acts set out above, defendants

have denied a reasonable accommodation to the plaintiffs and the plaintiff class and

discriminated against the plaintiff class by reason of their handicap in violation of Section

504 of the Rehabilitation Act of 1974, 29 U.S.C. § 794.


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        C. Order defendants to cease and desist from such discriminatory practices, and to use

their full authority under Dealer Licensing Act, the FOID Act and the Gun Trafficking

Information Act, and in particular to require gun dealers to comply with responsible business

practices set out in Exhibit B, and to provide resources or reallocate resources necessary to

enforce the FOID Act in Cook County,

        D. Order defendants to determine and submit to this Court a determination of patterns

of straw purchase sales and to revoke the licenses or

        E. Grant plaintiffs their reasonable attorneys’ fees, costs and such other relief as may

be appropriate.

   COUNT II—VIOLATION OF SECTION 504 OF THE REHABILTATION
                       ACT (EDUCATION)

       117. Plaintiffs incorporate the allegations set out in Count I above.

       118. By the acts set forth above, and failing to use their full regulatory authority, the

defendants have increased the existence of an already serious dangerous condition

jeopardizing the mental and emotional health of the plaintiff children.

       119. By such acts, and by depriving the plaintiff class of the full benefit of defendants’

regulatory authority to restrict illegal gun trafficking, and in violation of Section 504 of the

Rehabilitation Act, the defendants are also depriving the plaintiff children of the full benefits

of the public education for which the State is responsible. Because defendants’ failure to use

such full authority will increase the gun violence to which the children are exposed, plaintiffs

will face limitations in thinking, learning, concentrating, and communicating and be deprived

of the full benefits of federally assisted public education provided by the State.

       120. Gun violence in Chicago is concentrated in the Black neighborhoods, including

those in which the plaintiff children live, and they have been emotionally damaged by


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exposure to gun violence which defendants could prevent by full use of their regulatory

authority under state law.

       121. The defendants have used the narrowest possible definition of their authority in

order to placate largely white political groups and citizens who do not face and whose children

do not face repeated exposure to gun violence from illegal trafficking in guns.

       122. Under state laws for the regulation of handguns, the defendants have used “criteria

and methods of administration” that have created a public health emergency for the plaintiff

Black children and have subjected them to discrimination based on race and otherwise have

had a needless adverse racial impact, in violation of Section 5(a)(2) of the Illinois Civil Rights

Act, 740 ILCS 23./5.



   WHEREFORE, plaintiffs pray that this Court:

       A. Certify the proposed class.

       B. Declare that by failing to use the full regulatory authority to prevent illegal gun

trafficking and straw sales as described above, the defendants have used methods of

administration that have subjected the plaintiff children to discrimination based upon race in

violation of 740 ILCS 23/5(a)(2), by

       C. Enter an injunction requiring that the defendants to use their full regulatory

authority prevent exposure of the plaintiff children to the violence that is resulting from

illegal gun trafficking and straw sales

       D. Grant plaintiffs their reasonable attorneys’ fees, costs and such other relief as may

be appropriate.



                                                     /s/ Thomas H. Geoghegan

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